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5 Greyson Law Center PC
6
                    UNITED STATES BANKRUPTCY COURT
7             CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.
8
     In re                                Bankruptcy Case No. 8:23-bk-10571-SC
9                                         Chapter 11
10   THE LITIGATION PRACTICE              Adversary Proceeding no. 8:23-ap-01046-SC
     GROUP, P.C.,
11                                        (1) ANSWER OF DEFENDANT
12                          Debtor.
                                          GREYSON LAW CENTER PC, TO
13   RICHARD A. MARSHACK,                 TRUSTEE MARSHACK’S SECOND
14   Chapter 11 Trustee,
                                          AMENDED COMPLAINT (FILED BY
                         Plaintiff,
15                                        TRUSTEE ON 10/13/23);
16   v.
                                             AND
17   TONY DIAB, an individual;            (2) GREYSON LAW CENTER PC’S
18   DANIEL S.
                                          DEMAND FOR JURY TRIAL, TO BE
     MARCH, an individual; ROSA
19   BIANCA LOLI, an individual; LISA     PRESIDED OVER BY THE UNITED
20   COHEN, an individual; WILLIAM
                                          STATES DISTRICT COURT
     TAYLOR CARSS, an individual;
21   ENG TAING, an individual; HENG
22   TAING, an Individual; MARIA          Next status conference is set for:
     EEYA TAN, an individual; JAKE        Date: November 16, 2023
23   AKERS, an individual; HAN TRINH,     Time: 11:00 a.m.
24   an individual; JAYDE TRINH, an       Place: Courtroom of Bankruptcy Judge
     individual [and 34 additional        Scott Clarkson, by Zoom
25   defendants]
26
                            Defendants.
27
28

     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1             ANSWER OF DEFENDANT GREYSON LAW CENTER PC
 2                   TO SECOND AMENDED COMPLAINT

 3
 4         Defendant Greyson Law Center PC (“Greyson” hereafter) makes this

 5 ANSWER to the SECOND AMENDED COMPLAINT (“SAC”), filed on 10/13/23 by
 6
     Chapter 11 Trustee Richard Marshack (“Trustee” hereafter), as follows:
 7
 8 1. Greyson does not consent to the entry of a final order and judgment by the
 9      Bankruptcy Court, and by Greyson’s DEMAND FOR JURY TRIAL, TO BE
10
        PRESIDED OVER BY US DISTRICT COURT, which is at the end of this
11
12      pleading, Greyson demands trial by jury, with the trial by jury to be presided over

13      by the United States District Court (aka an Article III Judge). Greyson otherwise
14
        admits to the allegations set forth in Paragraph 1 of SAC.
15
16 2. Greyson denies the allegations set forth in Paragraph 2 of SAC on the basis that
17      they are not about Greyson.
18
     3. Greyson denies the allegations set forth in Paragraph 3 of SAC on the basis that
19
20      they are not about Greyson.
21 4. Greyson denies the allegations set forth in Paragraph 4 of SAC on the basis that
22
      they are not about Greyson.
23
24 5. Greyson denies the allegations set forth in Paragraph 5 of SAC on the basis that
25      they are not about Greyson.
26
     6. Greyson denies the allegations set forth in Paragraph 6 of SAC on the basis that
27
28      they are not about Greyson.

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 1 7. Greyson denies the allegations set forth in Paragraph 7 of SAC on the basis that
 2
        they are not about Greyson.
 3
 4 8. Greyson denies the allegations set forth in Paragraph 8 of SAC on the basis that
 5      they are not about Greyson.
 6
     9. Greyson denies the allegations set forth in Paragraph 9 of SAC on the basis that
 7
 8      they are not about Greyson.

 9 10. Greyson denies the allegations set forth in Paragraph 10 of SAC on the basis that
10
       they are not about Greyson.
11
12 11. Greyson denies the allegations set forth in Paragraph 11 of SAC on the basis that
13      they are not about Greyson.
14
     12. Greyson denies the allegations set forth in Paragraph 12 of SAC on the basis that
15
16      they are not about Greyson.
17 13. Greyson denies the allegations set forth in Paragraph 13 of SAC on the basis that
18
       they are not about Greyson.
19
20 14. Greyson denies the allegations set forth in Paragraph 14 of SAC on the basis that
21      they are not about Greyson.
22
     15. Greyson denies the allegations set forth in Paragraph 15 of SAC on the basis that
23
24      they are not about Greyson.
25 16. Greyson denies the allegations set forth in Paragraph 16 of SAC on the basis that
26
       they are not about Greyson.
27
28 17. Greyson denies the allegations set forth in Paragraph 17 of SAC on the basis that

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 1      they are not about Greyson.
 2
     18. As to the allegations set forth in Paragraph 18 of SAC, Greyson admits that
 3
 4      Greyson is, and at all material times was, a professional corporation organized,

 5      existing, and in good standing under the laws of the State of California,
 6
        incorporated on 5/12/23 (entity ID number 5714736), and that Greyson is not the
 7
 8      corporation of same name incorporated on 3/9/23, but with a different entity

 9      number (5561924) and later terminated. Greyson further asserts that Greyson’s
10
        principal place of business was previously Costa Mesa, CA but is now in Covina,
11
12      CA.

13 19. Greyson denies the allegations set forth in Paragraph 19 of SAC on the basis that
14
       they are not about Greyson.
15
16 20. Greyson denies the allegations set forth in Paragraph 20 of SAC on the basis that
17      they are not about Greyson.
18
     21. Greyson denies the allegations set forth in Paragraph 21 of SAC on the basis that
19
20      they are not about Greyson.
21 22. Greyson denies the allegations set forth in Paragraph 22 of SAC on the basis that
22
       they are not about Greyson.
23
24 23. Greyson denies the allegations set forth in Paragraph 23 of SAC on the basis that
25      they are not about Greyson.
26
     24. Greyson denies the allegations set forth in Paragraph 24 of SAC on the basis that
27
28      they are not about Greyson.

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 1 25. Greyson denies the allegations set forth in Paragraph 25 of SAC on the basis that
 2
        they are not about Greyson.
 3
 4 26. Greyson denies the allegations set forth in Paragraph 26 of SAC on the basis that
 5      they are not about Greyson.
 6
     27. Greyson denies the allegations set forth in Paragraph 27 of SAC on the basis that
 7
 8      they are not about Greyson.

 9 28. Greyson denies the allegations set forth in Paragraph 28 of SAC on the basis that
10
       they are not about Greyson.
11
12 29. Greyson denies the allegations set forth in Paragraph 29 of SAC on the basis that
13      they are not about Greyson.
14
     30. Greyson denies the allegations set forth in Paragraph 30 of SAC on the basis that
15
16      they are not about Greyson.
17 31. Greyson denies the allegations set forth in Paragraph 31 of SAC on the basis that
18
       they are not about Greyson.
19
20 32. Greyson denies the allegations set forth in Paragraph 32 of SAC on the basis that
21      they are not about Greyson.
22
     33. Greyson denies the allegations set forth in Paragraph 33 of SAC on the basis that
23
24      they are not about Greyson.
25 34. Greyson denies the allegations set forth in Paragraph 34 of SAC on the basis that
26
       they are not about Greyson.
27
28 35. Greyson denies the allegations set forth in Paragraph 35 of SAC on the basis that

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 1      they are not about Greyson.
 2
     36. Greyson denies the allegations set forth in Paragraph 36 of SAC on the basis that
 3
 4      they are not about Greyson.

 5 37. Greyson denies the allegations set forth in Paragraph 37 of SAC on the basis that
 6
        they are not about Greyson.
 7
 8 38. Greyson denies the allegations set forth in Paragraph 38 of SAC on the basis that
 9      they are not about Greyson.
10
     39. Greyson denies the allegations set forth in Paragraph 39 of SAC on the basis that
11
12      they are not about Greyson.

13 40. Greyson denies the allegations set forth in Paragraph 40 of SAC on the basis that
14
       they are not about Greyson.
15
16 41. Greyson denies the allegations set forth in Paragraph 41 of SAC on the basis that
17      they are not about Greyson.
18
     42. Greyson denies the allegations set forth in Paragraph 42 of SAC on the basis that
19
20      they are not about Greyson.
21 43. Greyson denies the allegations set forth in Paragraph 43 of SAC on the basis that
22
       they are not about Greyson.
23
24                              GENERAL ALLEGATIONS
25 “A. LPG’S BANKRUPTCY CASE”
26
   44. Greyson admits to the allegations set forth in Paragraph 44 of SAC to the extent
27
28      that they are reflected on the bankruptcy docket.

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 1 45. Greyson admits to the allegations set forth in Paragraph 45 of SAC to the extent
 2
        that they are reflected on the bankruptcy docket.
 3
 4 46. Greyson denies the allegations set forth in Paragraph 46 of SAC on the basis that
 5      they are not about Greyson.
 6
     47. Greyson denies the allegations set forth in Paragraph 47 of SAC on the basis that
 7
 8      they are not about Greyson.

 9 “B. LPG’S OWNERSHIP AND MANAGEMENT”
10
   48. Greyson denies the allegations set forth in Paragraph 48 of SAC on the basis that
11
12     they are not about Greyson.

13 49. Greyson denies the allegations set forth in Paragraph 49 of SAC on the basis that
14
       they are not about Greyson.
15
16 50. Greyson denies the allegations set forth in Paragraph 50 of SAC on the basis that
17      they are not about Greyson.
18
     51. Greyson denies the allegations set forth in Paragraph 51 of SAC on the basis that
19
20      they are not about Greyson.
21 “C. LPG’S BUSINESS STRUCTURE”
22
   52. Greyson denies the allegations set forth in Paragraph 52 of SAC on the basis that
23
24      they are not about Greyson.
25 53. Greyson denies the allegations set forth in Paragraph 53 of SAC on the basis that
26
       they are not about Greyson.
27
28 54. Greyson denies the allegations set forth in Paragraph 54 of SAC on the basis that

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 1      they are not about Greyson.
 2
     55. Greyson denies the allegations set forth in Paragraph 55 of SAC that refer to
 3
 4      Greyson, and denies the allegations of Paragraph 55 of SAC that do not refer to

 5      Greyson, for lack of knowledge about those other allegations.
 6
     56. Greyson denies the allegations set forth in Paragraph 56 of SAC on the basis that
 7
 8      they are not about Greyson.

 9 57. Greyson denies the allegations set forth in Paragraph 57 of SAC on the basis that
10
       they are not about Greyson.
11
12 “D. DIAB’S SCHEME”
13 58. Greyson denies the allegations set forth in Paragraph 58 of SAC on the basis that
14
       they are not about Greyson.
15
16 59. Greyson denies the allegations set forth in Paragraph 59 of SAC on the basis that
17      they are not about Greyson.
18
     60. Greyson denies the allegations set forth in Paragraph 60 of SAC on the basis that
19
20      they are not about Greyson.
21 61. Greyson denies the allegations set forth in Paragraph 61 of SAC on the basis that
22
       they are not about Greyson.
23
24 “F. LPG’S PREPETITION CREDITORS”
25 62. Greyson denies the allegations set forth in Paragraph 62 of SAC on the basis that
26
       they are not about Greyson.
27
28 63. Greyson denies the allegations set forth in Paragraph 63 of SAC on the basis that

     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1      they are not about Greyson.
 2
     64. Greyson denies the allegations set forth in Paragraph 64 of SAC on the basis that
 3
 4      they are not about Greyson.

 5 65. Greyson denies the allegations set forth in Paragraph 65 of SAC on the basis that
 6
        they are not about Greyson.
 7
 8 “G. FRAUDULENT TRANSFERS AND DOUBLE PULLS BY DEFENDANTS
 9 TOUZI, ENG, AND TERACEL”
10
   66. Greyson denies the allegations set forth in Paragraph 66 of SAC on the basis that
11
12     they are not about Greyson.

13 67. Greyson denies the allegations set forth in Paragraph 67 of SAC on the basis that
14
       they are not about Greyson.
15
16 68. Greyson denies the allegations set forth in Paragraph 68 of SAC on the basis that
17      they are not about Greyson.
18
     69. Greyson denies the allegations set forth in Paragraph 69 of SAC on the basis that
19
20      they are not about Greyson.
21 70. Greyson denies the allegations set forth in Paragraph 70 of SAC on the basis that
22
       they are not about Greyson.
23
24 71. Greyson denies the allegations set forth in Paragraph 71 of SAC on the basis that
25      they are not about Greyson.
26
     72. Greyson denies the allegations set forth in Paragraph 72 of SAC on the basis that
27
28      they are not about Greyson.

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 1 “H. FURTHER FRAUDULENT TRANSFERS AND CONVEYANCES TO
 2
     ALTER EGOS AND OTHER ENTITIES”
 3
 4 73. Greyson denies the allegations set forth in Paragraph 73 of SAC on the basis that
 5      they are not about Greyson.
 6
     74. Greyson denies the allegations set forth in Paragraph 74 of SAC that refer to
 7
 8      Greyson, and denies the allegations of Paragraph 74 of SAC that do not refer to

 9      Greyson, for lack of knowledge about those other allegations.
10
     75. Greyson denies the allegations set forth in Paragraph 75 of SAC on the basis that
11
12      they are not about Greyson, and Greyson lacks knowledge about those allegations.

13 76. If Paragraph 76 is referring to Greyson in any way, Greyson denies Paragraph 76,
14
       and if Paragraph 76 is referring to persons/entities other than Greyson, Greyson
15
16     denies Paragraph 76 of SAC for lack of knowledge.
17 77. If Paragraph 77 is referring to Greyson in any way, Greyson denies Paragraph 77,
18
       and if Paragraph 77 is referring to persons/entities other than Greyson, Greyson
19
20     denies Paragraph 77 of SAC for lack of knowledge.
21 78. If Paragraph 78 is referring to Greyson in any way, Greyson denies Paragraph 78,
22
       and if Paragraph 78 is referring to persons/entities other than Greyson, Greyson
23
24      denies Paragraph 78 of SAC for lack of knowledge.
25
26
     “I. THE SALE OF LPG’S ASSETS”
27
28 79. Greyson admits to the allegations set forth in Paragraph 79 of SAC, only to the
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1      extent that they are reflected on the bankruptcy docket, and otherwise denies
 2
        Paragraph 79 of SAC.
 3
 4                              FIRST CLAIM FOR RELIEF

 5                                     Injunctive Relief
 6
                                    Against All Defendants
 7
 8 80. Greyson repeats and realleges its responses to Paragraphs 1 through 79 of SAC
 9      supra.
10
     81. As regards Paragraph 81, Greyson denies that Trustee is entitled to any injunction,
11
12      preliminary or otherwise, as regards Greyson, and avers that the preliminary

13      injunction was erroneously issued as to Greyson based on Trustee’s false
14
        allegations that Greyson was an “alter ego” of debtor Litigation Practice Group, PC
15
16      (“LPG”), when Greyson was never an “alter ego” of LPG, and when Trustee’s
17      counsel, at the court hearing held 6/12/23, admitted that Greyson was not an “alter
18
        ego” of LPG.
19
20 82. If Paragraph 82 is referring to maintaining or enforcing any injunction against
21      Greyson, Greyson denies that there should be any injunction, preliminary or
22
        otherwise, against Greyson, and avers that the preliminary injunction was
23
24      erroneously issued as to Greyson based on Trustee’s false allegations that Greyson
25      was an “alter ego” of debtor Litigation Practice Group, PC (“LPG”), when
26
        Greyson was never an “alter ego” of LPG, and when Trustee’s counsel, at the court
27
28      hearing held 6/12/23, admitted that Greyson was not an “alter ego” of LPG.
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1 83. As regards Paragraph 83, Greyson denies that Trustee is entitled to any injunction,
 2
        preliminary or otherwise, as regards Greyson, and avers that the preliminary
 3
 4      injunction was erroneously issued as to Greyson based on Trustee’s false

 5      allegations that Greyson was an “alter ego” of debtor Litigation Practice Group, PC
 6
        (“LPG”), when Greyson was never an “alter ego” of LPG, and when Trustee’s
 7
 8      counsel, at the court hearing held 6/12/23, admitted that Greyson was not an “alter

 9      ego” of LPG.
10
     84. As regards Paragraph 84, Greyson denies that Trustee is entitled to any injunction,
11
12      preliminary or otherwise, as regards Greyson, and avers that the preliminary

13      injunction was erroneously issued as to Greyson based on Trustee’s false
14
        allegations that Greyson was an “alter ego” of debtor Litigation Practice Group, PC
15
16      (“LPG”), when Greyson was never an “alter ego” of LPG, and when Trustee’s
17      counsel, at the court hearing held 6/12/23, admitted that Greyson was not an “alter
18
        ego” of LPG.
19
20 85. If Paragraph 85 is referring to maintaining or enforcing any injunction against
21      Greyson, Greyson denies that there should be any injunction, preliminary or
22
        otherwise, against Greyson, and avers that the preliminary injunction was
23
24      erroneously issued as to Greyson based on Trustee’s false allegations that Greyson
25      was an “alter ego” of debtor Litigation Practice Group, PC (“LPG”), when
26
        Greyson was never an “alter ego” of LPG, and when Trustee’s counsel, at the court
27
28      hearing held 6/12/23, admitted that Greyson was not an “alter ego” of LPG.
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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1                                 SECOND CLAIM FOR RELIEF
2
           Avoidance, Recovery, and Preservation of Two-Year Actual Fraudulent
3
4                                              Transfers

5                                      Against All Defendants
6
                               [11 U.S.C. §§ 548(a)(1)(A), 550, and 551]
7
8 86. Greyson repeats and realleges its responses to Paragraphs 1 through 85 of SAC
9       above.
10
     87. Greyson denies the allegations set forth in Paragraph 87 of SAC, including because
11
12      “Transfers” is so fatally vague and “entities” is so fatally vague that it is not

13      possible to determine what Paragraph 87 is talking about.
14
     88. Greyson denies the allegations set forth in Paragraph 88 of SAC, including because
15
16      Paragraph 88 is so fatally vague that it is not possible to determine what Paragraph
17      88 is talking about.
18
     89. To the extent that Paragraph 89 is including Greyson in the term “Fraudulent
19
20      Transferees”, Greyson denies the allegations of Paragraph 89 of SAC, and denies
21      the rest of the allegations set forth in Paragraph 89 of SAC for lack of knowledge.
22
     90. To the extent that Paragraph 90 is including Greyson in the term “Fraudulent
23
24      Transferees”, Greyson denies the allegations of Paragraph 90 of SAC, and denies
25      the rest of the allegations set forth in Paragraph 90 of SAC for lack of knowledge.
26
     91. Greyson denies the allegations set forth in Paragraph 91 of SAC on the basis that
27
28      Greyson lacks sufficient information to determine the accuracy or lack of accuracy
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1       of Paragraph 91 of SAC.
2
     92. If Paragraph 92 of SAC is alleging any transfers involving Greyson, Greyson
3
4       denies Paragraph 92, and denies the rest of the allegations set forth in Paragraph 92

5       of SAC for lack of knowledge.
6
     93. Greyson denies the allegations set forth in Paragraph 93 of SAC to extent that
7
8       Paragraph is alleging Greyson is a “Fraudulent Transferee”, and otherwise denies

9       Paragraph 93 for lack of knowledge.
10
     94. If Paragraph 94 is alleging that Greyson received anything, Greyson denies
11
12      Paragraph 94, and insofar as Paragraph 94 refers to others than Greyson, Greyson

13      denies those allegations for lack of knowledge.
14
     95. If Paragraph 95 is alleging that Greyson received anything for little or no
15
16      consideration, Greyson denies Paragraph 95, and insofar as Paragraph 95 refers to
17      others than Greyson, Greyson denies those allegations for lack of knowledge.
18
     96. If Paragraph 96 of SAC is alleging any transfers involving Greyson, Greyson
19
20      denies Paragraph 96, and denies the rest of the allegations set forth in Paragraph 96
21      of SAC for lack of knowledge.
22
     97. If Paragraph 97 of SAC is alleging any transfers involving Greyson, Greyson
23
24      denies Paragraph 97, and denies the rest of the allegations set forth in Paragraph 97
25      of SAC for lack of knowledge.
26
     98. If Paragraph 98 of SAC is alleging any transfers involving Greyson, Greyson
27
28      denies Paragraph 98, and denies the rest of the allegations set forth in Paragraph 98
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 1      of SAC for lack of knowledge.
 2
     99. If Paragraph 99 of SAC is alleging that anything should be recovered from
 3
 4      Greyson, Greyson denies Paragraph 99 of SAC, and to the extent Paragraph 99 is

 5      talking about recovering transfers from others, Greyson denied said allegations for
 6
        lack of information regarding those allegations.
 7
 8
 9                               THIRD CLAIM FOR RELIEF
10
      Avoidance, Recovery, and Preservation of Two-Year Constructive Fraudulent
11
12                                          Transfers

13                                  Against All Defendants
14
                           [11 U.S.C. §§ 548(a)(1)(B), 550, and 551]
15
16 100. Greyson repeats and realleges its responses to Paragraphs 1 through 99 of SAC
17      above.
18
     101. To the extent that Paragraph 101 is referring to Greyson, Grayson denies the
19
20      allegations set forth in Paragraph 101 of SAC, as Greyson did not receive anything
21      for less than reasonably equivalent value; and to the extent that Paragraph 101 is
22
        referring to other persons/entities, Greyson denies those allegations for lack of
23
24      knowledge.
25 102. If Paragraph 102 is referring to Greyson in any way, Greyson denies the
26
      allegations set forth in Paragraph 102 of SAC, and otherwise denies Paragraph 102
27
28      for lack of knowledge.
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 1 103. If Paragraph 103 is referring to Greyson in any way, Greyson denies Paragraph
 2
       103, and if Paragraph 103 is referring to persons/entities other than Greyson,
 3
 4     Greyson denies Paragraph 103 of SAC for lack of knowledge.

 5 104. If Paragraph 104 of SAC is referring to Greyson in any way, Greyson denies the
 6
       allegations set forth in Paragraph 104 of SAC, and otherwise denies Paragraph 104
 7
 8     for lack of knowledge.

 9 105. If Paragraph 105 of SAC is referring to Greyson in any way, Greyson denies the
10
      allegations set forth in Paragraph 105 of SAC, and otherwise denies Paragraph 105
11
12    for lack of knowledge

13 106. If Paragraph 106 (and subparts to 106) of SAC are referring to Greyson in any
14
      way, Greyson denies the allegations set forth in Paragraph 106 of SAC, and
15
16    otherwise denies Paragraph 106 for lack of knowledge.
17 107. If Paragraph 107 of SAC is referring to Greyson in any way, Greyson denies the
18
      allegations set forth in Paragraph 107 of SAC, and otherwise denies Paragraph 107
19
20    for lack of knowledge.
21 108. Greyson denies that any transfer of any kind to Greyson is subject to being
22
      avoided as fraudulent, and on that basis denies Paragraph 108 of SAC insofar as it
23
24     refers to Greyson, and otherwise denies Paragraph 108 for lack of knowledge.
25
26
                             FOURTH CLAIM FOR RELIEF
27
28
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1       Avoidance, Recovery, and Preservation of Four-Year Actual Fraudulent
 2
                                          Transfers
 3
 4                                 Against All Defendants

 5   [11 U.S.C. §§ 544(b), 550, and 551; CAL. CIV. CODE §§ 3439.04(a) and 3439.07]
 6
     109. Greyson repeats and realleges its responses to Paragraphs 1 through 108 of
 7
 8      SAC above.

 9 110. If Paragraph 110 is referring to Greyson in any way, Greyson denies Paragraph
10
      110, and if Paragraph 110 is referring to persons/entities other than Greyson,
11
12    Greyson denies Paragraph 110 of SAC for lack of knowledge.

13 111. If Paragraph 111 is referring to Greyson in any way, Greyson denies Paragraph
14
      111, and if Paragraph 111 is referring to persons/entities other than Greyson,
15
16    Greyson denies Paragraph 111 of SAC for lack of knowledge.
17 112. If Paragraph 112 is referring to Greyson in any way, Greyson denies Paragraph
18
      112, and if Paragraph 112 is referring to persons/entities other than Greyson,
19
20    Greyson denies Paragraph 112 of SAC for lack of knowledge.
21 113. If Paragraph 113 is referring to Greyson in any way, Greyson denies Paragraph
22
      113, and if Paragraph 113 is referring to persons/entities other than Greyson,
23
24      Greyson denies Paragraph 113 of SAC for lack of knowledge.
25 114. If Paragraph 114 is referring to Greyson in any way, Greyson denies Paragraph
26
      114, and if Paragraph 114 is referring to persons/entities other than Greyson,
27
28      Greyson denies Paragraph 114 of SAC for lack of knowledge.
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1 115. If Paragraph 115 is referring to Greyson in any way, Greyson denies Paragraph
 2
        115, and if Paragraph 115 is referring to persons/entities other than Greyson,
 3
 4      Greyson denies Paragraph 115 of SAC for lack of knowledge.

 5 116. If Paragraph 116 is referring to Greyson in any way, Greyson denies Paragraph
 6
        116, and if Paragraph 116 is referring to persons/entities other than Greyson,
 7
 8      Greyson denies Paragraph 116 of SAC for lack of knowledge.

 9 117. If Paragraph 117 is referring to Greyson in any way, Greyson denies Paragraph
10
      117, and specifically avers Greyson did not receive any transfer that is a fraudulent
11
12    transfer; and if Paragraph 117 is referring to persons/entities other than Greyson,

13      Greyson denies Paragraph 117 of SAC for lack of knowledge.
14
     118. If Paragraph 118 is referring to Greyson in any way, Greyson denies Paragraph
15
16      118, and specifically avers Greyson did not receive any transfer that is a fraudulent
17      transfer; and if Paragraph 118 is referring to persons/entities other than Greyson,
18
        Greyson denies Paragraph 118 of SAC for lack of knowledge.
19
20 119. If Paragraph 119 is referring to Greyson in any way, Greyson denies Paragraph
21      119, and specifically avers Greyson did not receive any transfer that is a fraudulent
22
        transfer; and if Paragraph 119 is referring to persons/entities other than Greyson,
23
24      Greyson denies Paragraph 119 of SAC for lack of knowledge.
25 120. If Paragraph 120 is referring to Greyson in any way, Greyson denies Paragraph
26
      120, and specifically avers Greyson did not receive any transfer that is a fraudulent
27
28      transfer; and if Paragraph 120 is referring to persons/entities other than Greyson,
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1      Greyson denies Paragraph 120 of SAC for lack of knowledge.
 2
     121. If Paragraph 121 is referring to Greyson in any way, Greyson denies Paragraph
 3
 4      121, and specifically avers Greyson did not receive any transfer that is a fraudulent

 5      transfer; and if Paragraph 121 is referring to persons/entities other than Greyson,
 6
        Greyson denies Paragraph 121 of SAC for lack of knowledge.
 7
 8 122. If Paragraph 122 is referring to Greyson in any way, Greyson denies Paragraph
 9      122, and specifically avers Greyson did not receive any transfer that is a fraudulent
10
        transfer; and if Paragraph 122 is referring to persons/entities other than Greyson,
11
12      Greyson denies Paragraph 122 of SAC for lack of knowledge.

13 123. If Paragraph 123 is referring to Greyson in any way, Greyson denies Paragraph
14
      123, and specifically avers Greyson did not receive any transfer that is a fraudulent
15
16    transfer; and if Paragraph 123 is referring to persons/entities other than Greyson,
17      Greyson denies Paragraph 123 of SAC for lack of knowledge.
18
     124. If Paragraph 124 is referring to Greyson in any way, Greyson denies Paragraph
19
20      124, and specifically avers Greyson did not receive any transfer that is a fraudulent
21      transfer; and if Paragraph 124 is referring to persons/entities other than Greyson,
22
        Greyson denies Paragraph 124 of SAC for lack of knowledge.
23
24 125. Greyson denies that any transfer of any kind to Greyson is subject to being
25      avoided as fraudulent, and on that basis denies Paragraph 125 of SAC insofar as it
26
        refers to Greyson, and otherwise denies Paragraph 125 for lack of knowledge.
27
28 126. Greyson denies that any transfer of any kind to Greyson is subject to being
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1      avoided as fraudulent, and on that basis denies Paragraph 126 of SAC insofar as it
 2
        refers to Greyson, and otherwise denies Paragraph 126 for lack of knowledge.
 3
 4
 5                              FIFTH CLAIM FOR RELIEF
 6
            Avoidance, Recovery, and Preservation of Four-Year Constructive
 7
 8                      Fraudulent Transfers Against All Defendants

 9    [11 U.S.C. §§ 544(b), 550, and 551; CAL. CIV. CODE §§ 3439.05, and 3439.07]
10
     127. Greyson repeats and realleges its responses to Paragraphs 1 through 126 of
11
12      SAC above.

13 128. To the extent that paragraph 128 of SAC alleges that any transfer to Greyson
14
      was for less than reasonably equivalent value, Greyson denies Paragraph 128 of
15
16    SAC; and denies the remaining allegations of Paragraph 128 of SAC for lack of
17      knowledge.
18
     129. Greyson denies the allegations set forth in Paragraph 129 of SAC to the extent
19
20      that it alleges that Greyson received transfers for no consideration, and denies the
21      remaining allegations of Paragraph 129 of SAC for lack of knowledge.
22
     130. If Paragraph 130 of SAC is alleging anything about Greyson, Greyson denies
23
24      Paragraph 130, and denies the rest of the allegations set forth in Paragraph 130 of
25      SAC for lack of knowledge.
26
     131. If Paragraph 131 of SAC is alleging any transfers involving Greyson, Greyson
27
28      denies Paragraph 131, and denies the rest of the allegations set forth in Paragraph
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1       131 of SAC for lack of knowledge.
2
     132. If Paragraph 132 of SAC is alleging any transfers involving Greyson, Greyson
3
4       denies Paragraph 132, and denies the rest of the allegations set forth in Paragraph

5       132 of SAC for lack of knowledge.
6
     133. If Paragraph 133 of SAC is alleging anything transfers involving Greyson,
7
8       Greyson denies Paragraph 133, and denies the rest of the allegations set forth in

9       Paragraph 133 of SAC for lack of knowledge.
10
     134. If Paragraph 134 of SAC is alleging any transfers involving Greyson, Greyson
11
12      denies Paragraph 134, and denies the rest of the allegations set forth in Paragraph

13      134 of SAC for lack of knowledge.
14
     135. If Paragraph 135 of SAC is alleging any transfers involving Greyson, Greyson
15
16      denies Paragraph 135, and denies the rest of the allegations set forth in Paragraph
17      135 of SAC for lack of knowledge.
18
     136. If Paragraph 136 of SAC is alleging any transfers involving Greyson, Greyson
19
20      denies Paragraph 136, and denies the rest of the allegations set forth in Paragraph
21      136 of SAC for lack of knowledge.
22
     137. Greyson denies that any transfers are avoidable as to Greyson as fraudulent, and
23
24      on that basis denies Paragraph 137 of SAC as it relates to Greyson, and denies the
25      rest of the allegations set forth in Paragraph 137 of SAC for lack of knowledge.
26
     138. Greyson denies that any transfers are avoidable as to Greyson as fraudulent, and
27
28      on that basis denies Paragraph 138 of SAC as it relates to Greyson, and denies the
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1      rest of the allegations set forth in Paragraph 138 of SAC for lack of knowledge.
 2
                                SIXTH CLAIM FOR RELIEF
 3
 4                   Turnover of Estate Property Against All Defendants

 5                                      [11 U.S.C. § 542]
 6
     139. In response to Paragraph 139 of SAC, Greyson realleges each of Paragraphs 1
 7
 8      through 138 of this Answer, as if set forth in full

 9 140. If Paragraph 140 of SAC is referring to Greyson as a “Fraudulent Transferee”
10
      Greyson denies Paragraph 140, and specifically avers that Greyson did not receive
11
12    any fraudulent transfer; and to extent Paragraph 140 of SAC is referring to entities

13      other than Greyson, Grayson denies Paragraph 140 for lack of knowledge.
14
     141. Greyson denies the allegations set forth in Paragraph 141 of SAC, if Paragraph
15
16      141 refers to Greyson in any way, and otherwise denies Paragraph 141 for lack of
17      knowledge.
18
     142. Greyson denies the allegations set forth in Paragraph 142 of SAC, if Paragraph
19
20      142 refers to Greyson in any way, and otherwise denies Paragraph 142 for lack of
21      knowledge.
22
     143. To the extent that Paragraph 138 of SAC is alleging that trustee is entitled to
23
24      turnover, or any relief against Greyson, Greyson denies Paragraph 138, and
25      otherwise denies Paragraph 138 for lack of knowledge.
26
                                RESERVATION OF RIGHTS
27
28
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1         Greyson denies that Plaintiff is entitled to reserve any rights, particularly as
 2
     there is no specification of what is allegedly being reserved.
 3
 4
 5                      AFFIRMATIVE DEFENSES OF GREYSON
 6
                                AGAINST TRUSTEE’S SAC
 7
 8                                 First Affirmative Defense

 9              [SAC Fails to State a Claim upon which Relief can be Granted]
10
           Trustee’s Second Amended Complaint (“SAC”) fails to state any claim upon
11
12 which relief can be granted to Trustee, as regards to Greyson.
13                                Second Affirmative defense
14
                           [Insufficient Facts pleaded as to Greyson]
15
16         Trustee’s SAC fails to plead sufficient facts to establish any rights against
17 Greyson, including but not limited to SAC fails to state the dollar amounts of
18
   fraudulent transfers allegedly received by Greyson, fails to state any dates on which
19
20 the alleged fraudulent transfers were made to Greyson, and fails to state any
21 circumstances of the alleged fraudulent transfers.
22
                                Third Affirmative Defense
23
24                   [Trustee cannot prove its allegations against Greyson]
25         Trustee cannot prove the allegations of SAC, as regards Greyson.
26
                                  Fourth Affirmative Defense
27
28           [Recovery barred by Trustee’s unclean hands, laches and/or estoppel]
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1          Trustee’s SAC, as regards Greyson, is barred by Plaintiff Trustee’s unclean
 2
     hands, laches and/or estoppel.
 3
 4
 5                                Fifth Affirmative Defense
 6
                     [Recovery barred by Debtor’s consent, agreement etc]
 7
 8         Trustee’s SAC, as regards Greyson, is barred by debtor LPG’s, consent,

 9 agreement, acquiescence, waiver, and/or ratification.
10
                               Sixth Affirmative Defense
11
12             [Recovery barred by doctrine of avoidable consequences etc]

13         Trustee’s SAC and each claim therein against Greyson, is barred by the doctrine
14
     of avoidable consequences, given that any damage debtor LPG sustained was caused
15
16 by LGP’s own actions or inaction or agreement, and/or was caused by debtor LPG’s
17 failure to exercise reasonable care to avoid the consequences of alleged harms.
18
                                Seventh Affirmative Defense
19
20         [Greyson conduct justified, privileged, and allowed by applicable laws]
21         As regards, Greyson, Greyson’s conduct was justified and privileged, and was
22
     allowed by applicable laws, including because clients are entitled to change law firms
23
24 at any time, for any reason, and Greyson was entitled to enter into representation
25 contracts with clients that had been debtor LPG’s clients, but which wished to change
26
   to being represented by Greyson.
27
28
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1                              Eighth Affirmative Defense
 2
     [Greyson is entitled to Setoff or Recoup the Damages that Trustee’s False allegations
 3
 4      that Greyson was an “Alter Ego” of Debtor LPG caused Greyson, against any

 5      recovery awarded to Trustee (there should be none) on Trustee’s SAC against
 6
                                          Greyson]
 7
 8        On 6/2/23, Trustee obtained a lockout order, which locked all Greyson staff out

 9 of Greyson’s office, and obtained a preliminary injunction against Greyson, which
10
   froze Greyson’s funds, blocked Greyson from accessing Greyson’s client files,
11
12 blocked Greyson from accessing Greyson’s own website, froze Greyson out of
13 Greyson’s own email, diverted US mail to Greyson, and otherwise prevented Greyson
14
   from carrying on Greyson’s business, starting on June 2, 2023 and continuing to for
15
16 several months, based on Trustee making the false allegation to the Bankruptcy Court
17 that Greyson was an alter ego of debtor LPG, and based on Trustee making additional
18
   false allegations to the Bankruptcy Court in Debtor LPG’s bankruptcy case.
19
20        At the Bankruptcy Court hearing held on June 12, 2023, Trustee’s counsel
21 admitted to the Bankruptcy Court that Greyson was NOT an alter ego of debtor
22
   LPG, and on 10/13/23, filed Trustee’s Second Amended Complaint, which deleted
23
24 the allegations (made in Trustee’s First Amended Complaint) that Greyson was an
25 alter ego of debtor LPG.
26
          The bankruptcy estate of Debtor LPG, by Trustee attorneys’ false allegation
27
28 that Greyson was an alter ego of debtor LPG, and by Trustee attorneys’ additional
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 1 false allegations, convinced the Bankruptcy Court to Court to issue the 6/2/23 lockout
 2
     order, and convinced the Bankruptcy Court to issue the preliminary injunction
 3
 4 described supra in this Affirmative Defense. Said lockout order against Greyson, and
 5 preliminary injunction against Greyson, have severely damaged Greyson’s business,
 6
     and Greyson is entitled to setoff or recoup Greyson’s damages against any recovery
 7
 8 Trustee might obtain (Trustee should not obtain any recovery) against Greyson.
 9                               Ninth Affirmative Defense
10
        [Unfair competition by Debtor LPG, which is a Direct Competitor of Greyson]
11
12         Debtor LPG is a direct competitor of Greyson. Trustee, for Debtor LPG

13 making false allegations that Greyson was an alter ego of Debtor LPG—when
14
   Trustee’s counsel thereafter admitted to the Bankruptcy Court, at an 6/12/23 hearing,
15
16 that Greyson was NOT an alter ego of Debtor LPG, and Debtor LPG making
17 additional false allegations to obtain a lockout order and a preliminary injunction
18
   against Greyson, constitutes unfair competition by Debtor LPG against Greyson.
19
20 Though litigation privilege may prevent Greyson from counterclaiming against Debtor
21 LPG to recover those damages, it does not prevent Greyson from claiming damages
22
   caused by Debtor LPG’s unfair competition as a setoff or recoupment against any
23
24 recovery Trustee might obtain (Trustee should not obtain any recovery) against
25 Greyson.
26
   //
27
28
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1                                Tenth Affirmative Defense
 2
        [Improper Conduct, Unclean Hands and Wrongful Acts of Plaintiff Trustee Bar
 3
 4                     Trustee from Recovering Anything from Greyson]

 5 As regards Greyson, Plaintiff Trustee is barred from recovering anything from
 6
     Greyson, due to Plaintiff’s improper conduct, unclean hands, and wrongful acts,
 7
 8 including but not limited to the conduct of Trustee, by Trustee’s counsel, described in
 9 the Eighth and Ninth Affirmative Defenses supra, of falsely representing to the Court
10
   that Greyson was an alter ego of debtor LPG, when that representation was false, and
11
12 was later admitted to be false, yet by that false representation (and by additional false
13 representations), Trustee obtained from the Bankruptcy Court a lockout order, and
14
   preliminary injunction against Greyson, which locked Greyson’s personnel out of
15
16 Greyson’s office, froze Greyson’s funds, blocked Greyson from accessing Greyson’s
17 client files, blocked Greyson from accessing Greyson’s own website, froze Greyson
18
   out of Greyson’s own email, and otherwise prevented Greyson from carrying on
19
20 Greyson’s business, starting on June 2, 2023 and continuing to present.
21                               Eleventh Affirmative Defense
22
                            [Reasonably Equivalent Value received]
23
24 Debtor LPG received reasonably equivalent value for each transfer to Greyson alleged
25 by SAC to constitute a fraudulent transfer.
26
   //
27
28
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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 1                                Twelfth Affirmative Defense
 2
                                 [Debtor LPG Was Not Insolvent]
 3
 4 Debtor LPG was not insolvent on the dates of alleged fraudulent transfers to Greyson
 5 did Not Become Insolvent as a Result of Such Transfers.
 6
 7
 8                               Thirteenth Affirmative Defense

 9                           [Not Transfers of Property of the Estate]
10
     The transfers to Greyson which SAC alleges to constitute fraudulent transfers were
11
12 not property of debtor LPG’s bankruptcy estate and so are not actionable.
13                               Fourteenth Affirmative Defense
14
                                      [Reservation of Rights]
15
16         Greyson reserves the right to add additional affirmative defenses later if
17 facts/law justify this.
18
                                     GREYSON’S PRAYER
19
20       WHEREFORE, Defendant Greyson Law Center PC (“Greyson”) respectfully
21 requests that the Court:
22
      1. Deny all relief requested in Plaintiff Trustee’s Prayer:
23
24               A. As regards SAC’s First Claim for Relief: Deny that Trustee is entitled
25                   to any relief whatsoever as to Greyson, including adjudge that Trustee
26
                     is NOT entitled to preliminary injunction, or any injunction, against
27
28                   Greyson.
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 1              B. As regards SAC’s Second and Third Claims for Relief: Deny that that
 2
                   Trustee is entitled to recover any transfers whatsoever from Greyson.
 3
 4              C. As regards SAC’s Fourth and Fifth Claims for Relief: Deny that

 5                 Trustee is entitled to recover any transfers whatsoever from Greyson.
 6
                D. As regards SAC’S Sixth Claim for Relief: Deny that Trustee is
 7
 8                 entitled to turnover of anything, from Greyson; and

 9     2. Greyson prays that the Court:
10
                A. Enter Judgment in favor of Greyson, against Trustee, on Trustee’s
11
12                 Complaint, in toto;

13              B. Dismiss Trustee’s Second Amended Complaint, as to Greyson, with
14
                   prejudice; and
15
16              C. Grant Greyson any additional relief to which Greyson is entitled.
17 Dated: October 27, 2023                THE BANKRUPTCY LAW FIRM, PC
18
                                          By: /s/ Kathleen P. March__________
19                                        Kathleen P. March, Esq.
20                                        Counsel for Greyson Law Center PC,
                                          Adversary proceeding Defendant and
21                                        Counterclaimant
22
23
24
25
26
27
28
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 1                             GREYSON LAW CENTER PC’S
 2
           DEMAND FOR JURY TRIAL (Made Pursuant to FRBP Rule 9015),
 3
 4                 TO BE PRESIDED OVER BY US DISTRICT COURT

 5         Pursuant to the United state Constitution and the California Constitution, and
 6
     pursuant to FRBP Rule 9015 (incorporating FRCP Rule 38), Defendant Greyson Law
 7
 8 Center PC hereby demands that Trustee Marshack’s adversary proceeding Complaint
 9 be tried to a jury, with said jury trial to be presided over by the United States District
10
   Court.
11
12        Greyson Law Center PC does not consent to jury trial being presided over by a

13 Bankruptcy Judge.
14
   Dated: October 27, 2023                 THE BANKRUPTCY LAW FIRM, PC
15
16                                          By: /s/ Kathleen P. March__________
                                            Kathleen P. March, Esq.
17                                          Counsel for Greyson Law Center PC,
18                                          Adversary proceeding Defendant and
                                            Counterclaimant
19
20
21
22
23
24
25
26
27
28
     (1) ANSWER OF DEFENDANT GREYSON LAW CENTER PC, TO TRUSTEE MARSHACK’S SECOND
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10524 W. Pico Blvd., Ste. 212, Los Angeles, CA 90064

A true and correct copy of the foregoing document entitled (specify): (1) ANSWER OF DEFENDANT GREYSON LAW
CENTER PC, TO TRUSTEE MARSHACK’S SECOND AMENDED COMPLAINT (FILED BY TRUSTEE ON 10/13/23);
AND (2) GREYSON LAW CENTER PC’S DEMAND FOR JURY TRIAL, TO BE PRESIDED OVER BY THE UNITED
STATES DISTRICT COURT will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
___10/27/23___, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See next page

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ___10/27/23___, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

N/A
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___10/27/23___, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Scott Clarkson
411 West Fourth Street, Suite 5130
Santa Ana, CA 92701-4593
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 10/27/23                       Kathleen P. March                                                /s/ Kathleen P. March
 Date                           Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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       Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com




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